 Case 6:22-cv-00013 Document 23 Filed on 06/03/22 in TXSD Page 1 of 2




                        United States District Court
                         Southern District of Texas
                             Victoria Division
STATE OF TEXAS,
   Plaintiff,
v.                                                  Case 6:22-cv-13
ROCHELLE WALENSKY, et al.;
   Defendants.

                            Texas’s Status Report
   Texas has joined the other States’ challenge, pending in the Western

District of Louisiana, to the Defendants’ rescission of the Title 42 program. See

2d Am. Compl., Arizona v. CDC, ECF No. 44, No. 6:22-cv-885 (W.D. La.). Upon

that court’s approval of its counsels’ applications for admission pro hac vice,

Texas will move to dismiss this suit without prejudice.

Dated June 3, 2022.                  Respectfully submitted,
KEN PAXTON                           AARON F. REITZ
Attorney General of Texas            Lead Counsel
                                     Deputy Attorney General for Legal Strategy
BRENT WEBSTER                        Texas Bar No. 24105704
First Assistant Attorney General     aaron.reitz@oag.texas.gov

OFFICE OF THE ATTORNEY GENERAL       CHRISTOPHER D. HILTON
P.O. Box 12548                       Chief, General Litigation Division
Austin, Texas 78711-2548             Texas Bar No. 24087727
(512) 936-1700                       christopher.hilton@oag.texas.gov

                                     /s/ Leif A. Olson
                                     LEIF A. OLSON
                                     Special Counsel
                                     Texas Bar No. 24032801
                                     leif.olson@oag.texas.gov

                                     GENE P. HAMILTON
                                     America First Legal Foundation
 Case 6:22-cv-00013 Document 23 Filed on 06/03/22 in TXSD Page 2 of 2




                                    300 Independence Avenue SE
                                    Washington, DC 20003
                                    (202) 964-3721
                                    gene.hamilton@aflegal.org

                                    CHRISTOPHER J. HAJEC
                                    MATT A. CRAPO
                                    Immigration Reform Law Institute
                                    25 Massachusetts Ave., NW, Suite 335
                                    Washington, DC 20001
                                    (540) 205-7986
                                    litigation@irli.org

                                    Counsel for the State of Texas

                           Certificate of Service

   I certify that this status report was filed with the Court on June 3, 2022,
through its CM/ECF system, which automatically serves it upon all counsel of
record.
                                      /s/ Leif A. Olson




                                      2
